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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Michael Cozzi, et al.
                                      Plaintiff,
v.                                                       Case No.: 1:21−cv−00998
                                                         Honorable Steven C. Seeger
Village of Melrose Park, et al.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 4, 2021:


        MINUTE entry before the Honorable Sheila M. Finnegan: Telephone conferences
held separately on 8/4/2021 with each side for discussion of settlement issues. By
8/18/2021, defense counsel is to report back by email or telephone conference regarding
issues discussed today, so the Court can propose next steps. Mailed notice (sxw)




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